                           UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TENNESSEE
                                 AT GREENEVILLE

ROBERT MCNEIL,            )
                          )
          PETITIONER      )
                          )
v.                        )                 NO. 2:01-CR-84; 2:02-CR-32
                          )                 NO. 2:12-CV-38
UNITED STATES OF AMERICA, )
                          )
          RESPONDENT.     )

                                            ORDER


       This matter is before the Court on the Defendant’s motion filed pursuant to 28 U.S.C. §

2255 [Doc. 468].     On July 31, 2015, Counsel for the Defendant filed a Supplement to

Defendant’s motion [Doc. 573]. In that motion, counsel brought to the Court’s attention that in a

similar case as this Defendant’s, the United States Supreme Court granted certiorari, vacated the

Court’s order, and remanded the case “for further consideration in light of the position asserted

by the Solicitor General in his brief for the United States.” Snipes v. United States, 134 S.Ct.

1278 (Mem)(Feb. 24, 2014)(No. 13-6733). In that case, the Solicitor General asserted that the

United States was not provided the opportunity “to assert or waive the non-jurisdictional

procedural defenses on which the district court and this court relied on when declining to reach

the merits of the sentence-enhancement claim raised in [the Defendant’s] § 2255 motion.”

Snipes v. United States, No. 12-5552 at 2, [Doc. 102, pageID#398].

       This case also like Snipes deals with a change in the treatment of certain felony drug

convictions arising out of North Carolina. In this case, Defendant alleges that one of his prior

felony drug convictions resulted in him facing mandatory life imprisonment under the statute and




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in being treated as a career offender under the Sentencing Guidelines. 1 Defendant argues that his

prior felony drug conviction out of North Carolina no longer qualifies as a felony drug offense

for either enhancing his statutory sentence to mandatory life imprisonment or classifying him as

a career offender. He cites United States v. Simmons, 649 F.3d 237 (4th Cir. 2011).

       The Court wants to afford the United States the opportunity, as in Snipes, to assert or

waive the non-jurisdictional procedural defenses available to the United States prior to the Court

addressing the Defendant’s § 2255 motion.           Accordingly, the Court DIRECTS that by

September 18, 2015, the United States Attorney shall review this case and advise the Court

whether the United States intends to assert or waive the non-jurisdictional procedural defenses it

has to the merits of Defendant’s § 2255 motion. 2

       SO ORDERED.


                                             s/Leon Jordan
                                             UNITED STATES DISTRICT JUDGE




       1
          21 U.S.C. § 841(a)(1) provides for mandatory life imprisonment for defendants who
have two prior qualifying felony drug convictions. U.S.S.G. § 4B1.1 classifies defendants as
“career offenders” if they have, inter alia, two prior felony drug convictions.
        2
          The United States has asserted waiver and pled the statute of limitations as a defense to
Defendant’s claim [Doc. 471]. However, its answer was filed on March 13, 2012, prior to the
Solicitor General’s position taken in Snipes.


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